No CV30Case 8:22-cv-00137-SB-AS                               Document 1 Filed 01/25/22 Page 1 of 10 Page ID #:1

    Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non–Prisoner)



                                            UNITED STATES DISTRICT COURT
                                                                                                                                   1/25/22
                                                                                for the
                                                                                                                                     CS
                                                               Central District
                                                            __________ District of
                                                                                of California
                                                                                   __________

                                                                      __________ Division
                                                                       Southern Division

                               Eun Jung Lim
                                                                                    )     Case No.        SACV22-137-SB(AS)
                                                                                    )                     (to be filled in by the Clerk’s Office)
                                                                                    )
                                  Plaintiff(s)
    (Write the full name of each plaintiff who is filing this complaint.
                                                                                    )
    If the names of all the plaintiffs cannot fit in the space above,               )     Jury Trial: (check one)    u Yes         u No
    please write “see attached” in the space and attach an additional               )
    page with the full list of names.)                                              )
                                      -v-                                           )
                                                                                    )
                            See attachment #1
                                                                                    )
                                                                                    )
                                                                                    )
                                 Defendant(s)                                       )
    (Write the full name of each defendant who is being sued. If the                )
    names of all the defendants cannot fit in the space above, please               )
    write “see attached” in the space and attach an additional page
    with the full list of names. Do not include addresses here.)



                                      COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                (Non-Prisoner Complaint)


                                                                              NOTICE

        Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
        electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
        security number or full birth date; the full name of a person known to be a minor; or a complete financial account
        number. A filing may include only: the last four digits of a social security number; the year of an individual’s
        birth; a minor’s initials; and the last four digits of a financial account number.

        Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
        other materials to the Clerk’s Office with this complaint.

        In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
        forma pauperis.




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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non–Prisoner)


I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         Eun Jung Lim
                           Address                                      17192 Murphy Ave #17723
                                                                        Irvine                         ca               92623
                                                                                   City                State            Zip Code
                           County                                       Orange County
                           Telephone Number                             949-229-0302
                           E-Mail Address                               invokemyright@protonmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                         IRVINE CITY
                           Job or Title (if known)
                           Address                                      ONE CIVIC CENTER PLAZA
                                                                        Irvine                         CA               92623
                                                                                   City                State            Zip Code
                           County                                       Orange
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity    u Official capacity


                     Defendant No. 2
                           Name                                         see attachment #2
                           Job or Title (if known)
                           Address

                                                                                   City                State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity    u Official capacity




                                                                                                                                   Page 2 of 6
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non–Prisoner)


                     Defendant No. 3
                           Name
                           Job or Title (if known)
                           Address

                                                                                   City              State             Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity


                     Defendant No. 4
                           Name
                           Job or Title (if known)
                           Address

                                                                                   City              State             Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                         u Individual capacity   u Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                      u Federal officials (a Bivens claim)

                      ✔
                      u State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

                     Fourteenth Amendment lack of due process, equal protection, Wrongful prosecution. racial discrmination




          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non–Prisoner)




          D.         Section 1983 allows defendants to be found liable only when they have acted “under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                     See attached #3




III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
                      HOAG MEMORIAL HOSPITAL PRESBYTERIAN 16200 Sand Canyon Avenue, Irvine, CA 92618




         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                     In around January 25, 2020 11:00pm-1am




         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                     Hosptial surveillance video clearly and irrefutably exhonerates me of the false allegations made against
                     me by a security guard named Herbert Conrad allegations against me of assault and battery.

                     Michele Hinig, former Irvine Police Detective, knowingly made false statement in a crime report that lead
                     to malcious prosecution against me.

                     Orange County DA maliciously prosecuted the case even after in my defense wrote letters and talked to
                     investigators in DA’s office to view the Hosptial surveillance video which is exculpatory evidence.




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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
         Loss of employment;
         Misery, pain and suffering as a result of loss of employment;
         Harm to Plaintiff’s reputation;
         Death of family member occasioned by Defendants’ actions;
         Mental anguish and emotional distress; and
         Medical expenses incurred in seeking psychiatric help




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
         Grant judgment in favor of Plaintiff;
         Issue a declaration that Defendants violated Plaintiff’s Fourteenth Amendment rights;
         Award Plaintiff special damages for medical expenses incurred in seeking psychiatric help in the sum of $50,000;
         Award Plaintiff damages for violation of her Fourteenth Amendment Rights in the sum of $50 MIL;
         Award Plaintiff punitive damages;
         Award Plaintiff pre and post judgment interests, costs of this suit, and attorney fees as allowed by law;
         Award Plaintiff such equitable relief as this Court deems necessary under the circumstances; and
         Award Plaintiff such further relief as this Court deems fit and proper.




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    UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA

                                      Southern Division

                              Eun Jung Lim v. Irvine City, et al.

                              ATTACHMENT #1 TO Complaint



IRVINE CITY, Michael Hamel, Michael Mcnall, Rene Nutter, Sean Paul Crawford, Eric
Steele, Michele Hinig, James Moore, William Russell, Herbert Conrad, Orange County
District Attorney, Jerry Poole, Misty Daniels, Todd Spitzer, Dustin Rice, Taylor Krone,
Allison Taylor Targoff, Gaganjot Batth

                              ATTACHMENT #2 TO Complaint



B. The Defendant(s)

Michael Hamel
Former Irvine Police Chief
Unknown
Individual capacity

Sean Paul Crawford Badge #363
Sergeant - Detective
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity

Michele Hinig #470 (former)
Detective (former)
unknown
Individual capacity

Rene Nutter Badge #635
Police Officer
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity
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Michael Mcnall Badge #580
Police Officer
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity

Eric Steele Badge #544
Police Officer
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity

James Moore Badge #480
Police Officer
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity

William Russell Badge #227
Sergeant
1 Civic Center Plaza Irvine CA 92606-5207
Orange County
949-724-7156
Individual capacity

Herbert Conrad
Security Officer Hoag
Unknown
Individual capacity

Jerry Poole
Assistant Investigator for DA in 2020
Unknown
Individual capacity

Misty Daniels
Lead Investigator for DA in 2020
Unknown
714-441-3585
Individual capacity
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Todd Spitzer
District Attorney
300 N. Flower Street Santa Ana, California 92703
Individual capacity
714-834-3600

Dustin Rice
Deputy District Attorney
300 N. Flower Street Santa Ana, California 92703
Individual capacity
714-834-3600

Taylor Krone
Deputy District Attorney
300 N. Flower Street Santa Ana, California 92703
Individual capacity
714-834-3600

Allison Taylor Targoff
Deputy District Attorney
300 N. Flower Street Santa Ana, California 92703
Individual capacity
714-834-3600

Gaganjot Batth
300 N. Flowers Street Santa Ana, California 92703
Deputy District Attorney
Individual capacity
714-834-3600
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                              ATTACHMENT #3 TO Complaint




II. Basis for Jurisdiction

D.

Defendants were under lawful authority to make a crime report. In doing so, they were required

to make true and correct statements. While analyzing the color of law requirement under § 1983,

the court in Paeste v. Government of Guam, 798 F.3d 1228 (2015) held that, “The relevant

inquiry focuses not on whose law is being implemented, but rather on whether the authority of

the state was exerted in enforcing the law.” The authority of Defendants is provided for under

California Penal Code § 830.1. Therefore, they were acting under the color of state law. Instead

of making true and correct statements in regard to Plaintiff’s alleged assault incident, Defendants

made false statements amounting to perjury. The false statements were made in a crime report

which was to be presented before a court of competent jurisdiction. The effect that the false

statements had was the denial of Plaintiff’s due process rights under the Fourteenth Amendment.
